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18
                               UNITED STATES DISTRICT COURT
19                           NORTHERN DISTRICT OF CALIFORNIA
20
      ANIBAL RODRIGUEZ, SAL CATALDO,               Case No.: 3:20-cv-04688-RS
21    JULIAN SANTIAGO, and SUSAN LYNN
      HARVEY individually and on behalf of all     DECLARATION OF RYAN MCGEE IN
22    other similarly situated,                    SUPPORT OF PLAINTIFFS’
                                                   ADMINISTRATIVE MOTION TO SEAL
23                 Plaintiffs,                     PORTIONS OF MOTION FOR CLASS
                                                   CERTIFICATION
24
       vs.
25                                                 Judge: Hon. Richard Seeborg
       GOOGLE LLC,                                 Courtroom 3 – 17th Floor
26                                                 Date: October 5, 2023
                   Defendant.                      Time: 1:30 p.m.
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28
                      DECLARATION OF RYAN MCGEE IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL
                                            PORTIONS OF MOTION FOR CLASS CERTIFICATION
                                                                      Case No. 3:20-cv-04688
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1                                 DECLARATION OF RYAN MCGEE
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            I, Ryan McGee, declare as follows.
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            1.      I am an associate with the law firm of Morgan and Morgan, counsel for Plaintiffs
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     in this matter. I am an attorney at law duly licensed to practice before all courts of the State of
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     Florida and admitted pro hac vice for this case. Dkt. 13. I have personal knowledge of the matters
6
     set forth herein and am competent to testify.
7
            2.      Pursuant to Civil Local Rule 79-5, I submit this Declaration in support of Plaintiffs’
8
     administrative motion to seal portions of their motion for class certification. In making this request,
9
     Plaintiffs have carefully considered the relevant legal standard and policy considerations outlined
10
     in Civil Local Rule 79-5.
11
            3.      Plaintiffs respectfully request that the Court seal:
12
                    a. Portions of paragraphs 149, 152, 182, 191, 192, 244, and 246 of the March 22,
13
                        2023 Expert Report of Jonathan Hochman (“Hochman Report”), which contain
14
                        information related to the Plaintiffs, including identifiers.
15
                    b. The entirety of Appendices A, B.1, B.2, C, D, and K of the Hochman Report,
16
                        which contain information related to the Plaintiffs, including identifiers.
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            4.      The information requested to be sealed is being designated by Plaintiffs as
18
     “Confidential” pursuant to the parties’ Stipulated Protective Order (Dkt. 70).
19
            5.      Specifically, the portions sought to be sealed associate one of the named Plaintiffs
20
     with various identifiers. E.g., Hochman Report ¶ 192 (discussing a named Plaintiff’s phone
21
     number, zip code, and device information). In other cases, Plaintiffs seek to seal spreadsheets
22
     containing and analyzing records produced from Google’s logs, which Plaintiffs expect Google
23
     will in any event seek to seal.
24
            6.      Similar requests to seal were granted in Calhoun v. Google LLC, No. 4:20-cv-
25
     05146-YGR-SVK (N.D. Cal.), Dkt. 198 (sealing Calhoun plaintiffs’ web browsing history and
26
     information), and Brown v. Google LLC, No. 4:20-cv-03664-YGR (N.D. Cal.), Dkt. 804 (sealing
27
     Brown plaintiffs’ web browsing history and information).
28
                         DECLARATION OF RYAN MCGEE IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL
                                               PORTIONS OF MOTION FOR CLASS CERTIFICATION
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1              7.     If the Court were to deny sealing this information, Plaintiffs could be subjected to
2    a heightened risk of injury, including identity theft. I was personally involved at all stages of the
3    litigation in Adkins v. Facebook, Inc., No. 3:18-cv-05982-WHA (N.D. Cal.) including expert
4    discovery and related motions practice. I personally presented plaintiffs’ tutorial before Judge
5    Alsup with two cybersecurity experts (one of whom served as plaintiffs’ testifying expert) to
6    discuss data breaches and exploitation of personal information. No. 3:18-cv-05982-WHA, Dkts.
7    20, 65.
8              8.     I also personally defended the expert deposition of the testifying cybersecurity
9    expert, and I personally argued the Daubert motions that Facebook filed against our experts. The
10 information Plaintiffs seek to seal here is of substantially the same type of information that can be

11 used to gain unauthorized access to personal accounts.

12             I declare under penalty of perjury under the laws of the United States of America that the
13 foregoing is true and correct. Executed this 20th day of July, 2022, at New York, New York.

14
                                                            /s/ Ryan McGee
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                          DECLARATION OF RYAN MCGEE IN SUPPORT OF PLAINTIFFS’ MOTION TO SEAL
                                                PORTIONS OF MOTION FOR CLASS CERTIFICATION
                                                                          Case No. 3:20-cv-04688
